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                                                    Hear from the Community
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     "Chronic pain continues to be a serious issue for millions of Americans, and Teva is committed to
      supporting responsible pain management that meets the needs of people living with pain and
                                        healthcare professionals."
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                          Teva Pharmaceuticals and Pain
                                  Management
    At Teva Pharmaceuticals, we understand that chronic pain a lects more than 100 million
    Americans.1 It can greatly affect people touching many aspects of their lives, including their
    physical health and ability to participate in daily tasks.1




                                                          '

    Our Commitment to Pain Care
   Teva is committed to supporting responsible pain management that meets the needs of people
   living with pain and healthcare professionals treating pain. With a diverse portfolio and pipeline,
   we are working to help advance treatmerts in pain management. Prescription opioid medications
   are an important part of a treatment plan for many people living with chronic pain, but we know
   that they carry a serious risk of abuse and misuse.2 Teva is equally committed to addressing the
   serious problems of chronic pain and prescription drug abuse.

   As part of our ongoing commitment to support healthcare professionals and patients dealing with
   chronic pain, we are developing an innovative abuse deterrence technology platform to
   address the challenges of opioid abuse and misuse.

   To learn more about Teva and our commitment, visit us on line at TevaUSA.com




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    Community Collaboration
   As a company, Teva takes this commitment beyond its products, leading education and abuse-
   mitigation efforts. We're also working to develop educational resources and partner with a variety
   of stakeholders. In this complex pain care environment, Teva is focused on keeping patient needs
   at the center of all we do.




   The Alliance to Prevent the Abuse of Medicines
    In 2013, Teva became one of several leading industry stakeholders including the American
                         Caremark, Cardinal Health, the Healthcare Distribution
   Medical Association, CVS
   Management Association, Prime TheraP-eutics, Millennium Health, and Kaleo dedicated to
   developing policy solutions aimed to address prescription drug abuse. This non-profit partnership
   includes perspectives from all angles of the prescription drug supply chain-from manufacturers
   to distributors and pharmacies to physicians.




   Next Steps
   Go to Healthcare Professionals )
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                                                             Related Content


    ©                           Understanding Chronic Pain
                                Watch the Pain Matters documentary to learn about the impact of chronic pain


    @                           Tools & Resources
                                Use these tools and downloads to learn more about responsible opioid use

                                Opioid Abuse Deterrence Technology Guidance
                                Recent FDA guidance on evolving opioid abuse deterrence technology




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    Pain Perspectives Community Insights                                           SHARE
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                             New Rx Abuse Survey Results
            Physic·ans         and      People Affected by Chronic                           Pain Open Up About Rx
                                                                    Abuse


    Prescription drug abuse is a serious public health problem that is having a significant impact on
   our society and more directly, on the relationships between people affected by pain and their
   physicians. New survey results shed light on the challenges that exist in this evolving pain care
   landscape. How do clinicians and people with pain balance the need to talk about the impact of
   pain on everyday life and the risks of abuse and misuse associated with prescription opioid
   medications? These survey results reveal that both clinicians and people affecte y chronic pain
   recognize their important role in helping to reduce the risk of abuse, but feel that discussing the
   topic can be uncomfortable. Clinicians and people with chronic pain agree that information and
   practical resources that help address this complex problem are greatly needed. Dig deeper into
   the perspectives of clinicians and people affected by pain through the survey-results infog aphic
   below.




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      addition to a resource section specifically designed to support P-eORle affected by_P-ain.




    About the Survey


    A new survey conducted on behalf of Teva in partnership with the U.S. Pain Foundation and the
    American Academy of Pain Management explores issues impacting the pain care landscape. The
    survey included 1,100 prescribing healthcare professionals and 1,044 adults with chronic pain
    taking medications to manage their pain. The survey was conducted from January 21 to February
    10, 2015.

                          About the Author: Bob Twill man, PhD


                   Bob Twill man, Ph.D., is the Executive Director for the American Academy of Pain
                  Management. In that capacity, Dr. Twillman is responsible for overseeing federal and
                  state pain policy developments and advocating for those supporting an integrative
    approach to managing pain. He also serves as Chair of the Prescription Monitoring Program
    Advisory Committee for the Kansas Board of Pharmacy. Dr. Twillman received his Ph.D. in Clinical
    Psychology at the University of California in Los Angeles, and maintains a volunteer faculty
    appointment as Clinical Associate Professor of Psychiatry and Behavioral Sciences at the
    University of Kansas School of Medicine in Kansas City, KS. Prior to taking his current position, Dr.
    Twill man was a full-time faculty member at the University of Kansas Medical Center, where he
    founded and directed the inpatient pain management program and was a co-founder of the
    hospital's Palliative Care Team. He has been actively involved in pain policy through his work with
    the Alliance of State Pain Initiatives and the American Pain Society for many years.

    Teva Pharmaceuticals reviewed and edited this post prior to publication.




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                                  Find support for navigating the complex and evolving pain care landscape.


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                                  loved ones.


     ©                            Teva's Pain Care Commitment
                                  Learn how Teva is supporting responsible pain management




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     Opioid Abuse Mitigation Programs & Policies



    The Role of Government in Mitigating Opioid Abuse
    Due to the complex issues surrounding opioid abuse and misuse, various national and state
    programs, policies, and laws have been put in place to help mitigate opioid abuse and misuse.




                                          PrescriRtion Drug Monitoring Programs (PDMPs).




                                                        Controlled Subs,ance Sched_uling




                                           Risk Evalua_tion and Mitigation Strategy_{REMS).




    Prescription Drug Monitoring Programs (PDMPs)
   PDMPs are in place in 49 states to help detect and reduce the risk of diversion and abuse of
   prescription drugs at the practice and retail levels. These state programs allow for the collection
                                     17
   and analysis of prescription data. Proactive reporting through the use of PDMPs can help18:


    • Alert prescribers and pharmacists to potential prescription opioid abuse or diversion
        among their patients
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     • Proviae a ooportunity to intervene and refer patients for substance use disorder
          treatment when appropriate




    Schedules of Controlled Substances19
   The DEA plays an important role in mitigating abuse and diversion of opioids. This federal agency
   enforces the controlled substa 1ce laws and regulations in the US, including the scheduling of
   controlled substances, such as opioids.19 Controlled substances are classified into five categories,
   or schedules, according to the accepted medical use and the potential for abuse.19 Schedule I
   drugs are considered the most dangerous, while Schedule V drugs are seen to have the least risk
   for abuse.19 Prescription opioid medications generally fall under Schedules II and 111.19

                                                       SCHEDULE & DESCRIPTION




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    In addition to classifying potentially dangerous substances by schedule, the DFA's Office of
    Diversion Control requires physicians who intend to prescribe scheduled (controlled) medications
    to register in the state where they obtained a valid medical license.20 The goal of this initiative is to
    detect and investigate diversion of controlled substances from legitimate sources while ensuring
    an adequate and uninterrupted supply for legitimate medical, commercial, and scientific needs.20




    Risk Evaluation and Mitigation Strategies (REMS)
    REMS are requirements set by the Food and Drug Administration {FDA) for pharmaceutical
    manufacturers to help ensure that the benefits outweigh the risks for certain drugs.16 There are
    several components of RfMS that can be used by the pharmaceutical industry, including one or
                                   16
    more of the fotlow:ng :

    Medication Guides or Patient Package Inserts

    • FDA-approved instructions for appropriate use and instructions for patients focused on avoiding serious

         adverse events

   Communication Plans
    • A comprehensive plan for providing healthcare professionals with education, information, and increased

         awareness of risks associated with a drug

   Elements To Assure Safe Use

    • Some products are required to have additional actions that healthcare professionals need to execute

         prior to prescribing or dispensing the drug to the patient, known as Elements To Assure Safe Use

         (fTASU)

   Implementation Systems

    • When ETASU are required as part of a REMS program, the FDA -nay also require pharmaceutical

         companies to create a plan to ensure prescribers are complying with ETASlJ


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        Assessment results may be used to modify the REMS, or even eliminate it, if the assessment shows

        changes are needed orthatthe REMS have met its goals




    Next Steps
    Go to OP-ioid Advancements in Abuse Deterrence }




                                                                 Related Content

     @)                           Community Insights
                                  Pain Perspectives -hear from members of the pain community

                                 Tools & Resources
                                 Find screening tools and educational resoui. ces

                                 Opioid Abuse Deterrence Technology
                                 Advances in technology address the challenges of opioid abuse




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            A Multifaceted Approach to Opioid Abuse
                           Deterrence



    Key Stakeholders Are Making Strides to Mitigate
    Risk
    As part of the pain care community) we understand that we all have an active role to play to help
    advance responsible pain management and abuse deterrence.13 In a recent statement on
    prescription opioid abuse, the FDA underscored the need to work together to invest in strategies
    and responsible approaches that deter or mitigate abuse while preserving access to pain
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    medications for the patients that need them most.




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    Healthcare Professional Training and Education
   The FDA has identified three key ways prescribers can help curtail the US opioid epidemic13:



    •       Ensuring that they have adequate training ir opioid therapy


    •       Knowing the content of the most current opioid drug labels


    •       Educatir-g patients about the appropriate use of opioids, their potential. risks, and prooer disposal

            techniques




    Understanding Appropriate Use of Pain Medications

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      understanding and following appropriate use, storage, and disposal instructions could help
      reduce the risk of ab 1se and diversion. The American Academy of Family Physicians has provided
      general guidance and helpful tools on the appropriate use, storage, and disposal of opioid
      medications.15

      Resources are available to help educate around the appropriate use, storage, and disposal of
      prescription opioid medications.




      Policies and Programs Provide Guidance
      There are many government P-Olicies and P-rograms in place to help address the opioid abuse
      public health issue. Laws and policies of today must simultaneously prevent abuse, addiction, and
      diversion while allowing and supporting the legal use of prescription drugs by those who need
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      Advocacy Organizations Offer Ongoing Support
      Public education programs engage local healthcare professionals and antidrug coalitions to
      promote and distribute public education materials supporting the appropriate use and storage of
      prescription pain medications and understanding of the associated risks of abuse and misuse.3



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    Pharmaceutical Industry Drives Evolving Technology
    1 he FDA also encourages the ongoing study of abuse deterrence technologies for prescription
    opioid medications. Currently, the concept of abuse deterrence is viewed as the introduction of
    some limits or impediments to abuse, as opposed to the outright elimination of abuse.5

   At Teva Pharmaceuticals, we take our responsibility to help mitigate the risks of abuse seriously. In
   2013, we partnered with five leading industry organizations across the prescription drug supply
   chain to form the Alliance_ to Prevent the Abuse of Medicines. We are dedicated to raising
   awareness of the risks of opioid drug abuse.




   Next Steps
   Go to OP-ioid Abuse Mitigation Programs & Policies )




                                                                Related Content

    @                            Managing Chronic Pain
                                 Find information on treatment options for managing pain


    @)                           Opioid Abuse Mitigation Programs & Policies
                                 Opioid use and abuse guidance from state and federal governments

    (7;\                         Advancements in Opioid Abuse Deterrence
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                                 New st 'ategies address ab se potential




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                 Understanding Opioid Abuse & Misuse
    More than 12 million people reported using prescription pain medications non-medically in
    2010.10 That number encompasses both abuse and misuse. The abuse and misuse of
    prescription pain medications were responsible for more than 475,000 emergency
    department visits in 2009, a number that nearly doubled in just five years.1 Further, opioid                      °
    overdoses in particular are increasingly due to the abuse of prescription painkillers.3




    Opioid Abuse

    Abuse is a nonmedical use of a drug, repeatedly, or even sporadically, for the positive
    psychoactive effects it produces.v' The most common form of opioid abuse is swallowing a
                                                                                                    5
    number of intact pills or tablets to achieve a feeling of euphoria. While this is the most
    widespread form of abuse, opioid analgesics can be abused in a number of ways5:




    • Swallowed whole


    • Crushed and swallowed


    • Crushed and snorted


    • Crushed ard smoked


    • Crushed, dissolved> and irjected




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    Alcohol-induced dose dumping, or the associated intake of alcoholic beverages together with oral
    controlled-release opioid formulations, is another form of abuse that may result in an
    uncontrolled and immediate drug release.12




    Opioid Misuse

    Misuse is using the prescription drug for a reason other than for which it was
    prescribed.11 The key differentiator being the drug is not being used for an intentional high, so it
    is labeled misuse rather than abuse. Misuse can also take many forms, for example11 :



    • Using a drug for a different condition than that for which the drug is prescribed


    • Taking more drug than prescribed or at different dosing intervals


    • Using a drug not prescribed for them for other therapeutic purposes




    Next Steps
   Go to Stakeholder Efforts in 0Rioid Abuse Deterrence )




                                                                 Related Content

    ~                            Understanding Chronic Pain
    V                            Watch the Pain Matters documentary to learn about the impact of chronic pain

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                                 Opioid Abuse Deterrence Technology
                                 Advances in technology address the chalienges of opioid abuse




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    Healthcare Professionals                                                          SHARE




           A Multidisciplinary Approach to Managing
                           Chronic Pain
    While there are a variety of options availa le to treat chronic pain, it usually cannot be cured,
    only managed.6 There isn't one right way to treat pain.6




   Approaches to Pain Management»



                            PHYSICAL THERAPY                                                       SPINAL MANIPULATION




                   COGNITIVE BEHAVIOR THERAPY                                                           ACUPUNCTURE




                                                                 PAIN MEDICATION
                                                                   (RX AND OTC)




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    The pain experience is individual. Chronic pain is defined by the International Association for the
    Study of Pain as "a persistent pain that is not amenable, as a rule, to treatments based upon
    specific remedies or to the routine methods of pain control." It's a serious medical condition that
    may greatly affect people leaving them unable to work, maintain relationships, or participate in
    daily tasks.1

    Chronic pain can affect anyone. The Institute of Medicine estimated that 100 million American
    adults are impacted by chronic pain, which includes people who reported having "severe pain,
    moderate pain, joint pain, arthritis, or functional lim.tation."



    The Role of Opioids in Chronic Pain Management
    Prescription pain medications, such as opioids, may be an appropriate treatment option for
    people whose chronic pain is not adequately managed by other methods.2 Opioids are an
    important option for the treatment of certain types of chronic pain.9




    Next Steps
   Go to Understanding.QP-ioid Abuse )




                                                                 Related Content

    17:\                               Tools & Resources
    ~
                                       Use these tools and downloads to team more about responsible opioid .1se


                                       Understanding Opioid Abuse
                                       Statistics and insights into opioid abuse and misuse


                                       Opioid Abuse Deterrence Technology
                                       Advances in technology address the chauenges of opioid abuse




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